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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 SOUTH BEND DIVISION

BRIAN BURBANK,                                )
                                              )
               Plaintiff,                     )
                                              )
       v.                                     ) CAUSE NO: 3:18-cv-00800-RLM-MGG
                                              )
PLANET FORWARD, LLC d/b/a                     )
PLANET FORWARD ENERGY                         )
SOLUTIONS, LLC,                               )
                                              )
               Defendant.                     )

        JOINT MOTION TO UNSEAL SETTLEMENT AGREEMENT
AND PROCEED WITH MOTION FOR APPROVAL OF SETTLEMENT AGREEMENT

       Plaintiff, Brian Burbank, by counsel, and Defendant, Planet Forward, LLC d/b/a Planet

Forward Energy Solutions, LLC (collectively the “Parties”), by counsel, jointly move this Court

in response to the Court’s May 14, 2019 Opinion and Order (Dkt. 13) to unseal the Parties’

settlement agreement and proceed with deciding the Parties’ Joint Motion for Approval of

Settlement (Dkt. 7). In support of this motion, the Parties state:

       1.      On May 14, 2019, this Court entered its Opinion and Order denying the Parties’

motion for leave to file their settlement agreement under seal. In the Opinion and Order, the

Court suggested that the Parties either move to unseal the settlement agreement or withdraw the

motion to approve the settlement agreement.

       2.      The Parties have conferred and agree that they wish to proceed with the Motion

for Approval of Settlement Agreement.

       3.      Consequently, the Parties jointly request that the Court unseal the settlement

agreement previously filed with the Court (Dkt. 9) and proceed to rule on the Motion for

Approval of Settlement Agreement (Dkt. 7).
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       WHEREFORE, the Parties respectfully move the Court to unseal the settlement

agreement previously filed with the Court (Dkt. 9) and proceed to rule on the Motion for

Approval of Settlement Agreement (Dkt. 7).

ATTORNEYS FOR PLAINTIFF                      ATTORNEYS FOR DEFENDANT


/s/ Bradley L. Wilson (w/ permission)        /s/ Andrew M. Spangler, Jr.
Bradley L. Wilson                            Andrew M. Spangler, Jr.
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